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                         EXHIBIT A
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                  INFORMATION SUBJECT TO PROTECTIVE ORDER

                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF OKLAHOMA


 1) VIDEO GAMING TECHNOLOGIES, INC.,                     )
                                                         )
                                                         )
                   Plaintiff,                            )
                                                         )
 v.                                                      )   Case No. 4:17-cv-00454-GKF-JFJ
                                                         )
 1) CASTLE HILL STUDIOS LLC                              )     CONTAINS CONFIDENTIAL OR
    (d/b/a CASTLE HILL GAMING);                          )        HIGHLY CONFIDENTIAL
 2) CASTLE HILL HOLDING LLC                              )      INFORMATION SUBJECT TO
    (d/b/a CASTLE HILL GAMING); and                      )         PROTECTIVE ORDER
 3) IRONWORKS DEVELOPMENT, LLC                           )
    (d/b/a CASTLE HILL GAMING)                           )
                                                         )
                   Defendants.                           )

           PLAINTIFF’S SIXTH SUPPLEMENTAL OBJECTIONS AND RESPONSES TO
                        DEFENDANT CASTLE HILL STUDIO LLC’S
                      FIRST SET OF INTERROGATORIES (NOS. 1-13)

              Pursuant to Federal Rule of Civil Procedure 33, Plaintiff Video Gaming Technologies,

      Inc. (“VGT”) provides these supplemental objections and responses to the First Set of

      Interrogatories of Defendant Castle Hill Studio LLC (collectively with the other defendants,

      “CHG”) (the “Interrogatories”), which supplement its initial responses that were served on

      November 22, 2017, its first supplemental responses that were served on December 27, 2017,

      its second supplemental responses that were served on March 16, 2018, its third supplemental

      responses that were served on June 5, 2018, its fourth supplemental responses that were

      served on July 9, 2018, and its fifth supplemental responses that were served on July 29,

      2018.

                                     PRELIMINARY STATEMENT

              In responding to these Interrogatories, VGT does not concede the relevance, materiality,

      or admissibility of any Interrogatory. VGT’s response to each Interrogatory is made subject to
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   INTERROGATORY NO. 13:

          Please state with specificity the amount and category of damages you are seeking in this

   action, and how such damages are calculated.

   OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 13:

          VGT incorporates the General Objections stated above as if set forth fully herein and in

   particular objects to this request as premature to the extent that it calls for expert testimony or

   analysis. Subject to and without waiving the preceding general and specific objections, VGT

   responds as follows:

          VGT intends to seek at least (a) actual damages suffered by VGT as a result of CHG’s

   trademark infringement, trade dress infringement, unfair competition, misappropriation of

   VGT’s trade secrets, and misappropriation of VGT’s confidential business information; (b)

   disgorgement of CHG’s profits derived from its trademark infringement, trade dress

   infringement, unfair competition, misappropriation of VGT’s trade secrets, and misappropriation

   of VGT’s confidential business information; and (c) increased damages or profits and/or punitive

   damages. Calculation of such damages will depend on factors including CHG’s revenue from

   the accused games, VGT’s revenue lost as a result of CHG’s infringement, and other harm

   caused by CHG’s unlawful actions. VGT also intends to seek an award of its reasonable

   attorney fees and costs of suit.

   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 13:

          VGT incorporates its earlier objections and response to this interrogatory. Subject to and

   without waiving its objections, VGT further responds as follows:

          In addition to the categories of damages identified above, VGT intends to seek damages

   in the amount that CHG was unjustly enriched as a result of CHG’s trademark infringement,

   trade dress infringement, unfair competition, misappropriation of VGT’s trade secrets, and
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   misappropriation of VGT’s confidential business information, including damages based on the

   benefits CHG gained through the saved cost of development or otherwise.

                                              Respectfully submitted,


   August 3, 2018                             /s/ Michael S. Sawyer
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 3, 2018, I sent via email a true and correct copy of the

   foregoing PLAINTIFF’S SIXTH SUPPLEMENTAL OBJECTIONS AND RESPONSES TO

   DEFENDANT CASTLE HILL STUDIO LLC’S FIRST SET OF INTERROGATORIES (NOS.

   1-13) to counsel of record for Defendants Castle Hill Studios LLC, Castle Hill Holdings LLC,

   and Ironworks Development LLC:

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                                                                /s/ Michael S. Sawyer




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